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                             IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF UTAH


    INXPRESS, LLC, a Utah limited liability                      ORDER GRANTING MOTION FOR
    company,                                                    DEFAULT JUDGMENT ONLY AS TO
                                                                     DEFENDANT XGS, LLC
               Plaintiff,
                                                                     Case No. 2:21-cv-00620-RJS-JCB
    v.
    XGS, LLC, a Florida limited liability                                Chief Judge Robert J. Shelby
    company, CHRISTOPHER HORTENSI,
    an individual, and CARLA HORTENSI,                               Magistrate Judge Daphne A. Oberg
    an individual,
               Defendants.


           Having reviewed Plaintiff InXpress, LLC’s Motion for Default Judgment,1 which no

party has opposed, and for good cause appearing, the court GRANTS the Motion only as to

Defendant XGS, LLC (XGS). The court confines the relief it now grants to that specifically

discussed and requested in InXpress’s Motion, and therefore ORDERS:

           That the Clerk of Court shall enter a default judgment in InXpress’s favor on its breach of

contract and unjust enrichment claims against only XGS in the amount of $1,619,967.12.2

           SO ORDERED this 6th day of July 2022.

                                                           BY THE COURT:


                                                           ROBERT J. SHELBY
                                                           United States Chief District Judge

1
    Dkt. 24.
2
  InXpress’s proposed order includes a grant of “all reasonable attorney’s fees, costs, and expenses incurred in
collecting” on the judgment and accrual of interest, and states the judgment entered shall be “final.” Though
included in the proposed order, the Motion itself includes no discussion or request for such fees, costs, expenses, or
interest. Nor is there any request that final judgment be entered—or the grounds for doing so—while the case is
stayed against co-Defendants Carla Hortensi and Christopher Hortensi. Without prejudice to InXpress’s ability to
seek any of these things in the future, the court at this time declines to grant the fees, costs, expenses, post-judgment
interest, and enter final judgment.



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